Case 2:07-cr-00515-WBS Document 289 Filed 07/11/11 Page 1 of 2


DAVID J. COHEN, ESQ.
California Bar No. 145748
BAY AREA CRIMINAL LAWYERS, PC
300 Montgomery Street, Suite 660
San Francisco, CA 94104
Telephone: (415) 398-3900

Attorneys for Defendant Alex Hernandez


                  IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,         )       CR S CR 07-515-03 WBS
                                  )
           Plaintiff,             )
                                  )
v.                                )       STIPULATION RE-SCHEDULING
                                  )       SENTENCING HEARING AND
                                  )       [PROPOSED] ORDER THEREON
ALEX HERNANDEZ,                   )
                                  )
           Defendant.             )
                                  )
                                  )


     Defendant Alex Hernandez, by and through his attorney of

record,   David    J.   Cohen,   Esq.,     and   Assistant   United   States

Attorney, Michael M. Beckwith, Esq., after due consultation with

Senior United States Probation Officer Thomas H. Brown, jointly

request an extension of time for the sentencing hearing in this

matter.

     The parties stipulate and agree that the sentencing hearing

in this case should be continued from July 11, 2011 at 8:30 a.m.

to September 26, 2011 at 8:30 a.m.




                                      1
Case 2:07-cr-00515-WBS Document 289 Filed 07/11/11 Page 2 of 2


     The reason for this stipulation is as follows:

     1.        Mr. Cohen is currently engaged in a four week trial in

People v. Dhir, Case No. SC069905A, in the Superior Court for the

County    of    San   Mateo.   Dhir    is   a   serious   14   count   sexual

molestation case in which the defendant’s exposure is a potential

44-years.

     After the conclusion of the trial, the parties and the

probation officer have proposed a date at which all are mutually

available.

     IT IS SO STIPULATED.

                                            BENJAMIN B. WAGNER
                                            United States Attorney


DATED: July 8, 2011                   By:   /s/ Michael M. Beckwith
                                            MICHAEL M. BECKWITH
                                            Assistant U.S. Attorney
                                            Attorney for Plaintiff


DATED: July 8, 2011                   By:   /s/ David J. Cohen
                                            DAVID J. COHEN
                                            Attorneys for Defendant
                                            ALEX HERNANDEZ


     IT IS SO ORDERED.


Dated: July 8, 2011




                                       2
